                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                       2021-NCCOA-311

                                        No. COA20-650

                                       Filed 6 July 2021

     Cleveland County, Nos. 17 CRS 56572, 19 CRS 1728

     STATE OF NORTH CAROLINA,

                   v.

     WILLIAM MAURICE LOGAN, Defendant.


             Appeal by defendant from judgment entered 30 October 2019 by Judge Gregory

     R. Hayes in Cleveland County Superior Court. Heard in the Court of Appeals 26 May

     2021.


             Attorney General Joshua H. Stein, by Special Deputy Attorney General Joseph
             E. Elder, for the State.

             W. Michael Spivey for Defendant-Appellant.

             CARPENTER, Judge.


¶1           William Maurice Logan (“Defendant”) appeals from judgment entered upon a

     jury’s verdict finding him guilty of possession of a firearm by a felon pursuant to N.C.

     Gen. Stat. § 14-415.1 and attaining habitual felon status pursuant to N.C. Gen. Stat.

     § 14-7.1. On appeal, Defendant argues the trial court erred by denying his motion to

     suppress evidence obtained by a search warrant that was based on stale information,

     unsupported by probable cause, and overbroad. For the following reasons, we reverse

     the trial court’s ruling on Defendant’s motion to suppress, vacate the judgment, and
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     grant Defendant a new trial.

                           I. Factual &amp; Procedural Background

¶2         The evidence at trial tended to show the following: at approximately 2:48 a.m.

     on 17 December 2017, officers from the Shelby Police Department were dispatched to

     the business address of 801 South Lafayette Street in Shelby, North Carolina, in

     response to a citizen’s service call regarding a “loud noise” complaint.

¶3         At about 2:53 a.m., Detective Brandon Smith (“Detective Smith”), the lead

     officer on the case, and Officer Brent Walker (“Officer Walker”) arrived at the address

     in response to the call. The officers parked across the street “[b]ecause the parking

     lot of the building was packed with other vehicles.” As the officers reached the

     parking lot, they heard loud music and detected “a strong odor of burnt marijuana”

     coming from the building. Detective Smith testified that there were approximately

     one hundred people in the building before the officers were able to enter and secure

     it. Defendant corroborated this estimate in his affidavit in support of the motion to

     suppress by stating that on the evening in question, he “opened [his] place of business

     to be used as a venue for a party and had over one hundred guests . . . come.”

¶4         Defendant approached the officers as they walked into the parking lot of 801

     South Lafayette Street; he told them several times it was “his building,” and he was

     throwing a party.      In his affidavit, Defendant declared he was “the lawful

     occupant/tenant of the premises” located at that address, and he used the building as
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     an “auto detail shop.” The officers informed Defendant that their “reason for being

     there was the noise ordinance.” Defendant responded that he would “try to get the

     music turned down.” The officers advised Defendant that they would have to further

     investigate the issue of the marijuana odor. Defendant did not consent to the officers

     searching the building.    Detective Smith then called Sergeant Gabe McKinney

     (“Sergeant McKinney”) on the dispatch radio and requested that he come to the

     location and “assist with the application of a search warrant.” As they prepared to

     apply for the warrant, Defendant ran to the door of the building and told the

     attendees, “[l]ock the door, don’t let anybody in.” An attendee locked the door from

     the inside.

¶5         Defendant remained outside with Officer Smith and the other officers while

     the warrant was obtained. Detective Smith and Officer Walker testified that while

     they were waiting, the officers heard a “metallic bang” come from inside the building.

     According to Detective Smith, they then saw through a crack in the curtains “flashing

     lights[,] someone erecting a ladder,” and then someone climbing up the ladder.

¶6         Approximately twenty to thirty minutes after the officers arrived, they made

     entry as individuals exited from the door, and secured the building to ensure officer

     safety. The officers attempted to search consenting individuals as they exited the

     building; however, because those consenting outnumbered officers, not everyone

     could be searched. Of the individuals who were searched, no “guns, ammunition,
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     contraband, or narcotics” were found on their persons.

¶7         Sergeant McKinney arrived at the location and spoke with Detective Smith

     regarding the odor of marijuana. Sergeant McKinney then left the scene to apply for

     the search warrant with the magistrate’s office between 3:30 a.m. and 4:00 a.m. At

     4:05 a.m. the same morning, Magistrate Joshua Bridges issued the search warrant.

     Approximately thirty minutes after Sergeant McKinney had initially arrived at 801

     South Lafayette Street, he returned and executed the search warrant. He read the

     search warrant to Defendant, and officers began to search the building.

¶8         During the officers’ search, they initially found two firearms in a locked supply

     closet: a pistol up on a horizontal structural beam above the closet and a shotgun in

     the corner of the closet floor. Detective Smith testified that this locked supply closet

     could not be seen through the window from the outside of the building; therefore, it

     was not the same room in which he saw the ladder being erected. Sergeant McKinney

     notified Defendant when the first two firearms were located, and Defendant

     responded that “he didn’t know anything about a pistol but did own that shotgun.”

     Defendant made this statement to Sergeant McKinney before Defendant was charged

     with or arrested for any crimes.

¶9         An officer subsequently located two additional firearms “on top of a heater that

     was suspended from the ceiling” in the same storage room. The officers were not

     aware of Defendant’s convicted felon status until after they conducted the search.
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       Detective Smith testified during voir dire on the motion to suppress that “[o]nce [the

       officers] had located the firearms in the building [they] called in to dispatch to check

       and see if [Defendant] had any felony convictions”—it was confirmed that he did.

¶ 10         In addition to the four firearms, the officers also found and seized ammunition,

       shotgun shells, a glass smoking pipe, a pill bottle containing one white pill, a digital

       scale with marijuana residue, and a Mason jar containing marijuana residue.

       Following the search, Defendant was arrested and charged by magistrate’s order with

       one count of possession of a firearm by a felon pursuant to N.C. Gen. Stat. § 14-415.1.

¶ 11         On 19 March 2018, a Cleveland County grand jury indicted Defendant on one

       charge of possession of a firearm by a felon pursuant to N.C. Gen. Stat. § 14-415.1.

       Defendant was later indicted for having attained habitual felon status pursuant to

       N.C. Gen. Stat. § 14-7.1 on 16 September 2019.

¶ 12         On 28 October 2019, Defendant filed a pretrial motion to suppress all evidence

       obtained as a result of the 17 December 2017 search of 801 South Lafayette Street on

       the basis that the search warrant lacked sufficient probable cause and violated

       Defendant’s constitutional rights under the Fourth and Fourteenth Amendments of

       the United States Constitution and Article 1, Sections 19, 20, and 23 of the North

       Carolina Constitution. He also prayed the court to suppress his arrest for possession

       of a firearm by a felon, to dismiss his charge of possession of a firearm by a felon, and

       to suppress any statements made by Defendant in conjunction with or following the
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       alleged illegal search.

¶ 13         On 28 October 2019, the Cleveland County Superior Court conducted a

       suppression hearing before the Honorable Gregory Hayes on Defendant’s motion to

       suppress to determine whether the magistrate properly concluded that probable

       cause was established based on the supporting affidavit to the search warrant. At

       the conclusion of the hearing, Judge Hayes orally denied Defendant’s motion to

       suppress on the grounds that the State “prove[d] by the preponderance of the evidence

       that probable cause exist[ed] for the issuance of the search warrant . . . .” On 3

       December 2019, the trial court filed a written order on Defendant’s motion to

       suppress (the “Order”), concluding, inter alia, that the 17 December 2017 entry and

       search of Defendant’s building was “legal and based on probable cause.”

¶ 14         On 29 October 2019, a jury trial began before the presiding judge, Judge Hayes.

       The jury returned verdicts finding Defendant guilty of possession of a firearm by a

       felon and attaining habitual felon status. Defendant gave oral notice of appeal in

       open court.

                                        II. Jurisdiction

¶ 15         This Court has jurisdiction to address Defendant’s appeal pursuant to N.C.

       Gen. Stat. § 7A-27(b)(1) (2019) and N.C. Gen. Stat. § 15A-1444(a) (2019).

                                            III. Issue

¶ 16         The sole issue on appeal is whether the trial court erred in denying Defendant’s
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       motion to suppress evidence obtained pursuant to a search warrant where the

       supporting affidavit lacked information as to when the alleged events occurred.

                                    IV. Standard of Review

¶ 17         Our review of a trial court’s denial of a motion to suppress is “strictly limited

       to determining whether the trial judge’s underlying findings of fact are supported by

       competent evidence, in which event they are conclusively binding on appeal, and

       whether those factual findings in turn support the judge’s ultimate conclusions of

       law.” State v. Cooke, 306 N.C. 132, 134, 291 S.E.2d 618, 619 (1982). “[T]he trial

       court’s conclusions of law are reviewed de novo and must be legally correct.” State v.

       Pickard, 178 N.C. App. 330, 334, 631 S.E.2d 203, 206, disc. rev. denied, 361 N.C. 177,

       640 S.E.2d 59 (2006).

                                     V. Motion to Suppress

¶ 18         Defendant challenges the trial court’s denial of his motion to suppress on three

       separate grounds: (1) the search warrant did not provide sufficient information from

       which the magistrate could find probable cause; (2) the information contained in the

       affidavit was stale because the affidavit did not state when the offenses used to

       establish probable cause occurred; and (3) the search warrant was overly broad

       because it included firearms and other items in the description of evidence to be

       seized without providing a reasonable basis for the seizure of such items.

¶ 19         The Fourth Amendment to the United States Constitution, made applicable to
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       the states through the Fourteenth Amendment, protects “[t]he right of the people to

       be secure in their persons, houses, papers, and effects, against unreasonable searches

       and seizures . . . .” U.S. Const. amend. IV, XIV. Under the Fourth Amendment, a

       search warrant may be issued only “upon probable cause, supported by [o]ath or

       affirmation, and particularly describing the place to be searched, and the persons or

       things to be seized.” U.S. Const. amend. IV. “Article I, Section 20 of the Constitution

       of North Carolina likewise prohibits unreasonable searches and seizures and requires

       that warrants be issued only on probable cause” despite its divergent language from

       the United States Constitution. State v. Allman, 369 N.C. 292, 293, 794 S.E.2d 301,

       302–03 (2016); see N.C. Const. art. I, § 20; see also N.C Gen. Stat. § 15A-245 (2019)

       (describing the information an issuing officer may consider “in determining whether

       probable exists for the issuance” of a search warrant).

¶ 20         “Probable cause . . . means a reasonable ground to believe that the proposed

       search will reveal the presence upon the premises to be searched of the objects sought

       and that those objects will aid in the apprehension or conviction of the offender.”

       State v. Campbell, 282 N.C. 125, 128–29, 191 S.E.2d 752, 755 (1972) (citation

       omitted).

¶ 21         North Carolina courts have adopted the “totality of the circumstances” analysis

       for determining sufficiency of search warrant applications to establish probable

       cause. State v. Arrington, 311 N.C. 633, 642, 319 S.E.2d 254, 260 (1984); see State v.
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       Walker, 70 N.C. App. 403, 405, 320 S.E.2d 31, 32 (1984). Under the “totality of the

       circumstances” test, the magistrate’s task in issuing a search warrant “is simply to

       make a practical, common-sense decision whether, given all the circumstances set

       forth in the affidavit before him, including the ‘veracity’ and ‘basis of knowledge’ of

       persons supplying hearsay information, there is a fair probability that contraband or

       evidence of a crime will be found in a particular place.” Illinois v. Gates, 462 U.S.

       213, 238, 103 S. Ct. 2317, 2332, 76 L. Ed. 2d 527, 548 (1983) (citation omitted); see

       also Arrington, 311 N.C. at 638, 319 S.E.2d at 257–58. Thus, in applying the “totality

       of the circumstances” test, a reviewing court must determine “whether the evidence

       as a whole provides a substantial basis for concluding that probable cause exists.”

       State v. Beam, 325 N.C. 217, 221, 381 S.E.2d 327, 329 (1989).

¶ 22         Under North Carolina law, an application for a search warrant must meet

       certain requirements. See N.C. Gen. Stat. § 15A-244 (2019). One such requirement

       is “each application . . . must be made in writing upon oath or affirmation.” Id.

       Furthermore, each application must contain:

                    (1)    The name and title of the applicant; and
                    (2)    A statement that there is probable cause to believe
                           that items subject to seizure under [N.C. Gen. Stat.
                           §] 15A-242 may be found in or upon a designated or
                           described place, vehicle, or person; and
                    (3)    Allegations of fact supporting the statement. The
                           statements must be supported by one or more
                           affidavits particularly setting forth the facts and
                           circumstances establishing probable cause to believe
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                           that the items are in the places or in the possession
                           of the individuals to be searched; and
                    (4)    A request that the court issue a search warrant
                           directing a search for and the seizure of the items in
                           question.

       N.C. Gen. Stat. § 15A-244(1)–(4).     Additionally, our case law indicates that an

       affidavit supporting a search warrant application “is sufficient if it supplies

       reasonable cause to believe that the proposed search for evidence of the commission

       of the designated criminal offense will reveal the presence upon the described

       premises of the objects sought and that they will aid in the apprehension or conviction

       of the offender.” State v. Vestal, 278 N.C. 561, 576, 180 S.E.2d 755, 765 (1971), disc.

       rev. denied sub nom. Vestal v. North Carolina, 414 U.S. 874, 94 S. Ct. 157, 38 L. Ed.

       2d 114 (1973).

¶ 23         It is well-established in North Carolina that “a magistrate is entitled to draw

       reasonable inferences from the material supplied to him by an applicant for a

       warrant.” State v. Sinapi, 359 N.C. 394, 399, 610 S.E.2d 362, 365 (2005). However,

       “[b]efore a search warrant may be issued, proof of probable cause must be established

       by facts so closely related to the time of issuance of the warrant so as to justify a

       finding of probable cause at that time.” State v. Lindsey, 58 N.C. App. 564, 565, 293

       S.E.2d 833, 834 (1982).

                  A. Four Corners of Affidavit &amp; Lack of a Temporal Component

¶ 24         In his first argument, Defendant contends that “[t]he circumstances set forth
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       in the search warrant were not sufficient to permit the magistrate to arrive at a

       common-sense decision that there was a fair probability that contraband or evidence

       of a crime would be found in [his] building.” Specifically, Defendant argues that the

       affidavit’s absence of information as to “when the officers smelled marijuana”

       prevented the magistrate from making “a reasoned determination” that there was

       probable cause to issue the search warrant.          Hence, the “trial court cured the

       deficiencies” of the affidavit by relying on information outside the four corners of the

       search warrant to find probable cause. The State argues the trial court’s order

       denying Defendant’s motion to suppress was not improperly based on evidence

       outside of the four corners of the warrant application. And even if the court did err

       in relying on evidence beyond the affidavit, the State argues “the remaining findings

       of fact support a conclusion that the warrant was issued based on probable cause.”

¶ 25         The State correctly asserts in its brief that Defendant failed to preserve the

       issue of “staleness” for appellate review; however, because the issues—whether the

       trial court considered only the four corners of the affidavit, and whether the affidavit

       contained current information upon which proximate cause could be found—are

       inexorably intertwined in this case, we consider the arguments together. Although

       the affidavit failed to provide any reference of time to indicate when the alleged facts

       occurred, the State contends “the magistrate was permitted to infer that the officers’

       observations occurred shortly before [Sergeant] McKinney applied for a search
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       warrant” at around 4:00 a.m. due to “the nature of the investigation and the early

       hour at which [Sergeant] McKinney appeared to apply for the search warrant . . . .”

¶ 26           After careful review, we agree with Defendant that the affidavit in support of

       the search warrant application did not provide sufficient facts from which the

       magistrate could conclude there was probable cause because it did not specify when

       the purported events occurred nor did it indicate sufficient facts from which the

       magistrate could reasonably infer the timing of such events; therefore, for the reasons

       set forth below, the search warrant obtained as a result of the affidavit was invalid

       and resulted in an unreasonable search and seizure. See U.S. Const. amend. IV; N.C.

       Const. art. I, § 20.

¶ 27           In addition to ensuring an application for a search warrant meets the

       requirement imposed in N.C. Gen. Stat. § 15A-244, the issuing official is charged with

       verifying the basis for the issuance of a search warrant is justified. As part of this

       duty,

                     the issuing official may examine on oath the applicant or
                     any other person who may possess pertinent information,
                     but information other than that contained in the affidavit
                     may not be considered . . . in determining whether probable
                     cause exists . . . unless the information is either recorded
                     or contemporaneously summarized in the record or on the
                     face of the warrant by the issuing official.

       N.C. Gen. Stat. § 15A-245(a) (emphasis added). Similarly, our Supreme Court has

       affirmed that a trial court may not consider facts “beyond the four corners” of a search
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       warrant in determining whether a search warrant was supported by probable cause

       at a suppression hearing. State v. Benters, 367 N.C. 660, 673, 766 S.E.2d 593, 603
       (2014) (internal quotation marks omitted). Therefore, evidence “outside the four

       corners” should not be considered by the trial court at a suppression hearing, and any

       findings of fact made by the trial court referencing such information are considered

       “immaterial to [the reviewing court’s] determination of whether probable cause

       existed.” State v. Parson, 250 N.C. App. 142, 154, 791 S.E.2d 528, 537 (2016).

¶ 28         Here, Sergeant McKinney included with his application for a search warrant

       an affidavit in which he recited his training and experience and swore to the following

       facts to establish probable cause for the issuance of a search warrant:

                    [t]his search warrant pertains to an investigation being
                    conducted by the Shelby Police Department concerning 801
                    S. Lafayette St. Shelby, NC. Officers were dispatched to
                    801 S. Lafayette St. in reference to a loud music complaint.
                    Upon Officers Brandon Smith and Officer Brent Walker
                    [sic] arrival they spoke with a William Logan about the
                    loud music. While speaking with Mr. Logan the Officers
                    could smell marijuana coming from inside the business.

                    Based on the totality of the circumstances[,] Sergeant
                    McKinney believes a reasonable person would suspect that
                    illegal narcotics and drug paraphernalia are being kept at
                    this residence. And a search of this residence is warranted.

       Sergeant McKinney described the evidence to be seized as: (1) marijuana; (2) any

       other controlled substance; (3) currency (domestic or foreign); (4) guns/ammunition;

       (5) ledgers or any other similar documentation; (6) drug paraphernalia; (7)
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       documentation to establish residency; (8) any other item of evidentiary value; and (9)

       cellular phone. He provided in his application a description of the location and

       address of the residence to be searched.

¶ 29         Following the hearing on Defendant’s motion to suppress, the trial court made

       the following pertinent findings of fact:

                    (1)    That on December 17, 2017, Officers with the Shelby
                           Police Department (SPD) responded to 801 S.
                           Lafayette Street, Shelby, North Carolina 28150 in
                           reference to a loud noise complaint at approximately
                           2:48 AM.
                    (2)    Upon Officer Brandon Smith and Officer Brent
                           Walker’s arrival, they observed a lot of vehicles in
                           this building[’]s parking lot, they heard the loud
                           noise coming from the building and smelled
                           marijuana emitting from the building in question.
                    (3)    While approaching said building, the Officers were
                           approached by the Defendant. The Defendant told
                           the Officers this was his building and he was in
                           control of the building. The Officers informed him of
                           the loud noise complaint and the odor of marijuana
                           coming from the Defendant[’]s building.
                    (4)    Officer Smith and Officer Walker contacted other
                           SPD Officers for assistance, including [Sergeant]
                           McKinney who had sixteen years of experience with
                           the SPD, about obtaining a search warrant and
                           assisting them with this investigation.
                    (5)    [Sergeant] McKinney, as well as other Officers,
                           arrived at said location and noticed the smell of
                           marijuana coming from the Defendant[’]s building
                           as well.
                    (6)    [Sergeant] McKinney left the scene to obtain a
                           search warrant.
                    (7)    In [Sergeant] McKinney’s experience as a law
                           enforcement officer, firearms, ammunition, drugs
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       including marijuana, and U.S. currency go hand in
       hand.
(8)    While waiting for the search warrant, Officers with
       the SPD at 801 S. Lafayette St. were able to make
       entry to the building and lock down the building for
       community safety and officer safety while awaiting
       the search warrant.
(9)    [Sergeant] McKinney applied for the search warrant
       in writing upon oath that contained the name and
       title of the applicant, [Sergeant] McKinney on
       12/17/2017 for a search of 801 S. Lafayette St.,
       Shelby, NC 28150 and its curtilage. That there was
       probable cause to search said place due to the smell
       and odor of marijuana emitting from said building.
       The place to be searched was properly described.
       The description of evidence to be seized was properly
       described and contained items that go hand in hand
       with marijuana. [Sergeant] McKinney outlined in
       detail his experience as a law enforcement officer
       and that the Officers could smell marijuana coming
       from inside this building in an affidavit establishing
       probable cause.
(10)   [Sergeant] McKinney returned with a valid search
       warrant for 801 S. Lafayette St. and executed the
       search warrant. The search warrant was read to the
       Defendant. Officers with SPD then began with the
       search of the building.
(11)   Among other things, while searching said building
       Officers located documents indicating the building
       was in the Defendant’s control, drug paraphernalia,
       marijuana, ammunition and four firearms. The
       firearms located were in a locked room that the
       Defendant informed the Officers was his room and
       the room he kept all his supplies. One of the
       firearms was a loaded shotgun.
(12)   The Defendant also made a statement to [Sergeant]
       McKinney that he knew about the shotgun located
       but did not know about the pistol.
(13)   The Defendant made such statements about the
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                           room with the firearms and the admission about
                           knowing about the shotgun on his own free will. The
                           Defendant was not in custody when making such
                           statements and was not being interrogated.
                    (14)   Through the investigation, the Officers learned the
                           Defendant was a convicted felon and was therefore
                           not legally allowed to possess a firearm.
                    (15)   The Defendant was charged according.

¶ 30         Defendant challenges findings of fact 1 through 15 of the Order on the ground

       the trial court relied on information outside the four corners of the warrant to

       determine whether the magistrate had probable cause to issue the search warrant.

       The State concedes that numerous findings of fact are based on information either

       outside the affidavit or are related to matters that occurred subsequent to the

       magistrate issuing the search warrant, but nonetheless the State argues that there

       were sufficient findings of fact to support the trial court’s determination that probable

       cause existed.

¶ 31         Our Supreme Court has stated “[t]he question for review [of a motion to

       suppress] is whether the ruling of the trial court was correct . . . .” State v. Austin,

       320 N.C. 276, 290, 357 S.E.2d 641, 650 (1987). Thus, “[t]he crucial inquiry for th[e

       appellate c]ourt is admissibility and whether the ultimate ruling was supported by

       the evidence.” Id. at 290, 357 S.E.2d at 650.

¶ 32         In this case, we need not consider Defendant’s specific challenges to the

       findings of fact and conclusions of law because we conclude the trial court erred in
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       denying Defendant’s motion to suppress and finding probable cause existed for the

       search warrant based on the affidavit, which lacked sufficient facts to show when the

       alleged criminal activity occurred. The “ultimate ruling” concluding probable cause

       existed for the search warrant could not be “supported by the evidence” because the

       search warrant was based on a facially insufficient and thus deficient supporting

       affidavit. See id. at 290, 357 S.E.2d at 650.        However, we note the trial court

       improperly applied the preponderance of the evidence standard at the hearing on the

       motion to suppress in determining whether probable cause existed for the search

       warrant.   Moreover, the written order denying the motion to suppress does not

       reference the “totality of the circumstances” test; rather, it concludes that the search

       warrant was “valid and legal” pursuant to N.C. Gen. Stat. § 15A-244. Therefore, it is

       unclear from the record whether the Order reflects the correct standard by which the

       trial court was to review the search warrant.

¶ 33         Our Court has not previously determined whether a search warrant affidavit

       based on officers’ personal observations is fatally defective where the affidavit fails to

       specify when the purported facts occurred. In State v. Campbell, our Court considered

       whether an affidavit upon which a search warrant was issued provided “a sufficient

       basis for the finding of probable cause.” 14 N.C. App. 493, 494, 188 S.E.2d 560, 561,

       aff’d, 282 N.C. 125, 191 S.E.2d 752 (1972). Our Court noted the affidavit contained

                    statements that some undisclosed issuing officer on dates
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                    not stated, upon complaints, the factual basis for which is
                    not revealed, made to him by complainants whose identity
                    and reliability are not indicated, had found probable cause
                    to order the arrest of the persons accused for offenses
                    allegedly committed by them at places not specified on
                    dates ranging from approximately three to seven weeks
                    previous to the date of the affidavit.

       Id. at 496, 188 S.E2d at 562. We held that the trial court erred in overruling the

       defendant’s objections to the admission of evidence; thus, we remanded the case for a

       new trial. Id. at 497, 188 S.E.2d at 562. Since the affidavit did not provide sufficient

       facts from which a magistrate could conclude that the purported events had “occurred

       on or in connection with the premises to be searched,” we did not reach the issue of

       whether the lack of timing as to the purported events made the affidavit defective.

       Id. at 497, 188 S.E.2d at 562.

¶ 34         In State v. Newcomb, our Court considered a supporting affidavit which was

       based on information obtained by an informant whose credibility was not known. 84

       N.C. App. 92, 95, 351 S.E.2d 565, 567 (1987). Moreover, the affiant did not attempt

       to corroborate the informant’s statements before applying for the search warrant. Id.

       at 95, 351 S.E.2d at 567. The affidavit did not indicate when the informant had last

       been in the residence in which the officer sought to search, nor did it indicate whether

       the informant had “current knowledge of details” surrounding the alleged events. Id.

       at 95, 351 S.E.2d at 567. We held the affidavit failed to demonstrate probable cause,

       and our Court refused to apply the Leon “good faith exception” because “the officer
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       took no reasonable steps to comply with the fourth amendment.” Id. at 96, 351 S.E.2d

       at 567; see United States v. Leon, 468 U.S. 897, 104 S. Ct. 3405, 82 L. Ed. 2d 677
       (1984); State v. Welch, 316 N.C. 578, 342 S.E.2d 789 (1986).

¶ 35         Similarly, in State v. Brown, our Court found the affidavit at issue to be

       substantially similar to the affidavit considered by the Newcomb Court because it

       failed to specify when an informant had witnessed the defendant’s purported criminal

       activities—it only provided timing as to when an officer had spoken to the informant.

       248 N.C. App. 72, 77, 79–80, 787 S.E.2d 81, 86–87 (2016). Therefore, we held the

       information in the affidavit was stale. Id. at 80, 787 S.E.2d at 88. Accordingly, we

       reversed the trial court’s order denying suppression and vacated the judgment. Id.

       at 80, 787 S.E.2d at 88.

¶ 36         We are cognizant that the cases of Newcomb and Brown are distinguishable on

       the grounds that those cases involved information provided by confidential

       informants whereas the case sub judice concerns information obtained from the

       personal observations of police officers. We nevertheless find the cases instructive in

       reaching our conclusion that the search warrant at issue was invalid on the ground

       the affidavit lacks a sufficient nexus between the odor of marijuana and the building

       to be searched at the time the warrant was executed. Our holding is also consistent

       with the rule of law that a magistrate must be able to reasonably infer when alleged

       facts occurred to find probable cause. See Lindsey, 58 N.C. App. at 565, 293 S.E.2d
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at 834 (“The test for ‘staleness’ of information on which a search warrant is based is

whether the facts indicate that probable cause exists at the time the warrant is

issued.”); State v. Cobb, 21 N.C. App. 66, 69, 202 S.E.2d 801, 804 (1974) (holding a

“magistrate could realistically and reasonably conclude from the affidavit that the

informer observed the events so recently that reasonable cause existed to believe that

the illegal activities were occurring at the time of the issuance of the warrant.”)

(emphasis added).      Other jurisdictions have adopted similar approaches in

considering the validity of search warrants where trial courts found probable cause

based on affidavits lacking any reference to time. See United States v. Doyle, 650

F.3d 460, 475 (4th Cir. 2011) (rejecting the Leon good faith exception “where the

totality of the information provided to the magistrate included no indication as to

when the events supposedly creating probable cause to search took place”);

Herrington v. State, 287 Ark. 228, 233, 697 S.W.2d 899, 901 (1985) (“An affidavit . . .

with absolutely no reference to a time frame, does not provide sufficient information

upon which a probable cause determination can be made.”); Garza v. State, 120 Tex.

Crim. 147, 151, 48 S.W.2d 625, 627 (1932) (holding an affidavit was inadequate to

support a search warrant where the statements in the affidavit did not “convey[ ] any

definite idea as to when the incident [the affiant] describe[d] took place”); Welchance

v. State, 173 Tenn. 26, 28, 114 S.W.2d 781, 781 (1938) (stating the date of the alleged

offense was “essential” in order for the magistrate to determine whether probable
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       cause existed); see also United States v. Zayas-Diaz, 95 F.3d 105, 114–15 (1st Cir.

       1996) (“[A] reasonably well-trained law enforcement officer should be familiar with

       the fundamental legal principle that both the ‘commission’ and ‘nexus’ elements of

       ‘probable cause’ include an essential temporal component.”).

¶ 37         Here, the supporting affidavit to the search warrant application was

       completely devoid of any indication as to when the events used to establish probable

       cause occurred.    The affidavit did not include the date on which the officers’

       investigation began, the date when the officers were dispatched to Defendant’s

       address, the date when the officers spoke to Defendant regarding loud music, or the

       date when the officers smelled marijuana coming from inside Defendant’s building.

       The magistrate could not reasonably conclude that the search warrant application

       established probable cause because it failed to provide “facts so closely related to the

       time of issuance of the warrant,” as required for a valid search warrant. See Lindsey,

       58 N.C. App. at 565, 293 S.E.2d at 834. To allow issuance of a search warrant without

       such essential temporal information would encourage magistrates to make

       speculations and assumptions regarding probable cause, which would in turn violate

       constitutional protections against unreasonable searches and seizures. The State has

       provided no arguments on appeal to justify the officers’ otherwise warrantless search.

       Therefore, we hold the trial court erred in denying Defendant’s motion to suppress

       where the supporting affidavit provided no indication as to when the alleged criminal
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       activities occurred. The affidavit was invalid; thus, any evidence obtained as a result

       of the search warrant was erroneously admitted at trial. See N.C. Gen. Stat. § 15A-

       974(a)(1) (2019) (“Upon timely motion, evidence must be suppressed if: [i]ts exclusion

       is required by the Constitution of the United States or the Constitution of the State

       of North Carolina . . . .”); see Campbell, 282 N.C. at 132, 191 S.E.2d at 757.

¶ 38         Because we conclude the trial court erred in denying Defendant’s motion to

       suppress, we do not need to address his remaining argument that the search warrant

       was overly broad in scope.

                                          VI. Conclusion

¶ 39         For the foregoing reasons, we reverse the order denying Defendant’s motion to

       suppress, vacate the judgment, and grant Defendant a new trial.

             NEW TRIAL.

             Judges DILLON and GORE concur
